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                            Proposed Order    Pg 1 of 4




                      EXHIBIT A
                               (Proposed Order)
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES INVESTOR PROTECTION                              Adv. Pro. No. 08-01789 (BRL)
CORPORATION,
                                                            SIPA Liquidation
                        Plaintiff,
                                                            (Substantively Consolidated)
v.

BERNARD L. MADOFF INVESTMENT
SECURITIES LLC,

                        Defendant.

In re:

BERNARD L. MADOFF,

                        Debtor.

              ORDER (1) ESTABLISHING LITIGATION CASE MANAGEMENT
            PROCEDURES FOR AVOIDANCE ACTIONS AND (2) AMENDING THE
                       FEBRUARY 16, 2010 PROTECTIVE ORDER

           Upon the motion (the “Motion”)1 of Irving H. Picard (the “Trustee”), as trustee for the

liquidation of the business of Bernard L. Madoff Investment Securities LLC (“BLMIS”) under

the Securities Investor Protection Act, 15 U.S.C. §§ 78aaa, et seq. (“SIPA”),2 and the

substantively consolidated estate of Bernard L. Madoff (“Madoff”), seeking entry of an order, (1)

pursuant to section 105(a) of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq.(the

“Bankruptcy Code”), and Rules 7016, 7026 and 9006 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), establishing Avoidance Procedures (as defined below)

governing the litigation of certain avoidance actions to be commenced by the Trustee, and (2)

amending the Protective Order (the “Global Protective Order”) [Docket No. 1951] entered by
1
    All terms not defined herein shall have such meanings as subscribed to them in the Motion.
2
    For convenience, future reference to SIPA will not include “15 U.S.C.”

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this Court on February 16, 2010 in order to facilitate the implementation of the Avoidance

Procedures; and the Court having jurisdiction to consider the Motion and the relief requested

therein in accordance with section 78eee(b)(4) of SIPA, the Protective Decree, entered on

December 15, 2008 by the United States District Court for the Southern District of New York in

Case No. 08 CV 10791, and 28 U.S.C. §§ 157 and 1334; and it appearing that the relief

requested in the Motion is in the best interests of the estate and its customers; and due notice of

the Motion having been given, and it appearing that no other or further notice need be given; and

the Court having determined that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and upon the proceedings before the Court and after due

deliberation, it is hereby

         ORDERED, that the relief requested in the Motion is granted; and it is further

         ORDERED, that the procedures set forth on Exhibit A hereto3 (the “Avoidance

Procedures”) are adopted and shall govern the Avoidance Actions; and it is further

         ORDERED, that the Global Protective Order is amended as follows:

                  A.       The Trustee shall be permitted to file publicly complaints and related
                           exhibits in the Avoidance Actions as well as other avoidance actions not
                           subject to the Avoidance Procedures.

                  B.       CONFIDENTIAL Account Information relied upon by the Trustee’s
                           experts in forming their expert opinions and preparing their expert reports
                           shall be designated “Professionals’ Eyes Only”. The Trustee may provide
                           access to such CONFIDENTIAL Account Information to attorneys of
                           record in one or more Avoidance Actions and other professionals working
                           with that attorney on such Avoidance Action(s) provided that the attorney
                           and/or professional executes a Non-Disclosure Agreement substantially in
                           the form annexed hereto as Exhibit B (a “Non-Disclosure Agreement”);
                           and it is further




3
 Since the exhibits to the proposed order are included in the Motion, they are not attached hereto for filing and
service purposes. They will be provided to the Court at the hearing with the actual proposed order.

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         ORDERED, that a violation of a party’s obligations under a Non-Disclosure Agreement

shall be treated as a violation of this Order and shall subject such party to such sanctions as the

Court shall determine after notice and a hearing; and it is further

         ORDERED, that this Court shall retain jurisdiction with respect to all matters relating to

the interpretation or implementation of this Order.


Dated: New York, New York
       November __, 2010


                                                   HONORABLE BURTON R. LIFLAND
                                                   UNITED STATES BANKRUPTCY JUDGE




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